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                               EXHIBIT 234
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        To:       Projansky, Steven[Steven.Projansky@pharma.com]; Seid,
        Stephen[Stephen.Seid@pharma.com]
        From:     Bogdan, Gregory
        Sent:     Mon 1/14/2013 5:09:56 PM
        Subject: Fee For Service SOP
        FFS SOP .. DRAFT 1.14.doc

         Hi Steve and Steve,
         Can you take a look at our Fee For Service SOP, add any additional information you deem necessary
         and/or provide feedback?

         Thank you
         Greg




                                                                                                             EXHIBl~
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                        PURDUE PHARMA LP. and ASSOCIATED US COMPANIES
                                           Stamford
                               STANDARD OPERA TING PROCEDURE

        SOPNUM.:
        TIT LE :                    Fee for Service Quarterly Credit Process
        E FFE C TIV E DA TE :       10 /01/2012
        V E R S IO N N U M .:       1
        SUPERSEDES D O C . N U M .: NA



        APPROVALS
        Name I Title I Department: Stephen Seid / Executive Director I National Accounts

        Signature I Date:



        Name I Title I Department: Eric Bostrup / Executive Director I Finance

        Signature I Date:




        Name I Title I Department:

        Signature I Date:




        Name I Title I Department:

        Signature I Date:




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        1. PURPOSE

           The purpose of this SOP is to document the quarterly Fee for Service (FFS) credit process.

        2. SCOPE
           FFS is one of the reductions from gross sales (GL accounts 406050 & 407000) to record
           net sales in the income statement. The FFS expense is based on the Distribution
           Performance Agreements (DPA) and the related credits calculated and discussed herein.

           Approximately 97% of total Purdue sales (direct and indirect sales as reported in report 7 of
           the sales report gallery) are made to wholesalers. Approximately 99% of wholesaler sales
           are made to wholesalers who have DPAs with Purdue. DPAs stipulate that Purdue issue
           quarterly credit memos (within 60 calendar days from quarter end) in exchange for
           wholesalers' adherence to contract terms including but not limited to; purchasing 100% of
           products exclusively from Purdue (or authorized agent), selling Purdue products to
           customers, maintaining low purchase variability, maintaining certain inventory levels, and
           providing channel data services.

           Contracts have an approximate 3 year term from effective dates (See Annex A for list of
           wholesalers and contract terms) and are saved in the finance share drive found under the
           following P drive address:
           P:\Finance\Share\SalesData\FeeForService\Agreements\Agreements .

           Note: that the Scope section herein is only asqrnmary of contract terms and conditions
           and as such should not be used as the CO(flpl~te resource in understanding or processing
           FFS credits. Make sure to read the DPAt1/f·,tull to get a complete understanding of the
           agreements.                              '\;

           As seen in the box below, the DPA credit is calculated by multiplying Purdue reported
           Gross Sales times the Basis Points Earned % and then subtracting Excess Inventory
           Appreciation, Data Reporting Reduction and Unauthorized Deductions:

                        DPA Credit Calculation

                                        (a)   Purdue Gross Sales
                        Multiplied by: (b) Basis Points Earned %
                        Equals:             Gross Payment Base

                        Less:           (c) Excess Inventory Appreciation
                        Equals:             Adjusted Payment Base

                        Less:           (d) Data Reporting Reduction
                        Less:           (e) Unauthorized Deductions
                        Equals:             DPA Credit


           (a) The Purdue Gross Sales amount is equal to Purdue reported (GAAP) gross sales.
               Wholesalers' sales information is maintained in Purdue's Enterprise system SAP.
               Credit calculation and steps are discussed in the Procedure section 6 herein.


                                                                                                      2




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           (b) Basis Points are earned by wholesalers' ability to adhere to 4 metrics; Raw Service
               Level Unit Fill Rate, Effective Inventory Level, Purchase Variability and EDI 852 & EDI
               867 Data Reconciliation. See the Definition Section 3 herein for further metric
               information. See the wholesaler DPAs for metric calculations.. Depending on the
               wholesaler customer, maximum Basis Points Earned Percentages range from 155% to
               2.1 % (See Annex A for Basis Points Earned % by wholesale customer). Wholesalers
               can earn the maximum credit percentage of gross sales if all 4 metrics are met. The
               Basis Points Earned % is reduced accordingly when wholesalers do not meet the
               metrics.

               Wholesalers upload and maintain contract specified data (See Exhibit C in any DPA
               contract for specified data) in ValueTrak on a daily basis. The National Accounts group
               utilizes the data held in ValueTrak and creates excel based distributor scorecards (See
               Annex D for example) to measure whether or not wholesalers meet the 4 metrics.
               ValueTrak is an industry-standard platform for on-demand data management and
               performance analytics for pharmaceutical companies including Manufacturers,
               Distributors, and Retail Pharmacies. Steve Projansky, National Accounts group Ase.
               Dir. Channel Operations, is the ValueTrak administrator and provides platform access.
               S&P Finance is responsible for reviewing quarterly scorecards which is discussed
               further in the Procedure section 6 herein.

           (c) The Excess Inventory Appreciation deduction helps prevent excess product stocking
               preceding a WAC price increase. Purdue issues price increases on certain products
               each year. Price increase announcements are saved at the following P drive address:
               'P:\Finance\Share\SalesData\PRICING\2~··2' (see Annex F for an example).
                                                       Y.';~.
               After calculating the Gross Payment~S0 above, S&P Finance subtracts the Excess
               Inventory Appreciation to calculate the Adjusted Payment Base. Excess Inventory
               Appreciation is measured as of the effective date that Purdue has a WAC price
               increase. The Excess Inventory Appreciation is equal to the result of:

                      (WAC price increase of any product) x (Effective Inventory that exceeds the
                      result of wholesaler's average 30 days daily sales to customers immediately
                      preceding the WAC price increase by 23 days}.

                      For example, if a wholesaler has 40 days of average daily sales during the 30
                      days period preceding the price increase, the Excess Inventory Appreciation is
                      equal to 17 days of Effective Inventory times the WAC price increase. The
                      number of Effective Inventory Level days varies by wholesaler as seen in Annex
                      A.

           (d) After calculating the Adjusted Payment Base above, S&P Finance discusses with the
               National Accounts group whether or not a Data Reporting Reduction is necessary. In
               the event National Accounts identifies more than 3 occurrences during a quarter or
               greater than 5 activity days during a quarter in which wholesalers' EDI data
               submissions fail the data reporting requirements (see Data Reporting Requirements of
               each contract for specific details), Purdue can take the Data Reporting Reduction by
               reducing the Gross Payment Base by 10%.

           (e) Unauthorized Deductions (if any) are subtracted from the Adjusted Payment Base.
               Unauthorized Deductions is a blanket provision that represents any deduction taken by

                                                                                                         3




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               wholesalers that is not explicitly allowed in Authorized Distributor Agreements (ADA)
               (See Definition section 3 for further ADA details). For example, if a dispute is not
               resolved within 30 days, Purdue will allow the wholesaler to take a deduction, but may
               deduct the credit in the future as an Unauthorized Deduction upon a resolution of the
               claim favorable to Purdue.

           Fee for Service credit processing undergoes a comprehensive and detailed review by
           Finance, National Accounts and Marketing groups. See the below for a step by step
           processing narrative of the credits, key definitions, risks identified, key internal controls and
           other information.


         3. DEFINITIONS

           3.1. Authorized Distributor Agreement (ADA): Purdue has an ADA with each wholesaler
                customer authorizing the wholesaler to purchase products from Purdue, sell and
                distribute product to certain territories, provide other distribution and warehousing
                functions and to perform other services

                ADAs are saved in the finance share drive found under the following P drive address:
                P:\Finance\Share\SalesData\FeeForService\Agreements\Agreements.


           3.2. Calendar Quarter: The consecutive three calendar months commencing on January
                1st, April tst, July 1st and October 1st              J·

                                                                   .{":\,
                                                             = \>.;\
           3.3. Customer: Purchaser of product f}'qrrt''wholesalers
                                                     "'·\;\\..:f




           3.4. EDI 852 & EDI 867 Data Reconciliation Metric: One of the 4 metrics used to
                calculate Basis Points Earned %. This metric measures the accuracy and
                consistency of 852 (inventory) and 867 (sales) data reports. See wholesaler DPAs
                for the metric calculation.


           3 . 5. Effective Inventory: The sum of product quantities under any of the following
                categories:

                3 . 5 . 1. On hand
                3 . 5 . 2.. Committed for sale to wholesaler's customers

                3.5 . 3. On order with Purdue, including in transit to wholesaler
                3 . 5 . 4. Held by wholesaler for events, plans and shows

           3 . 6. Effective Inventory Level Metric: One of the 4 metrics used to calculate Basis
                  Points Earned %. This metric calculates the effective days of inventory on hand for
                each Product Family for each of the 30 calendar days preceding the end of a
                calendar quarter. The metric is in place to incentivize wholesalers to maintain
                Effective Inventory stock levels in accordance with contract targets. See wholesaler
                DPAs for the metric calculation. Note that new product NOC launched by Purdue will



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                be included in the metric beginning on the first day of the 7 th calendar month following
                the first shipment of product to Purdue's direct purchasing customer.

           3.7. Excess Inventory Appreciation: The Excess Inventory Appreciation section is to
                prevent excess product stocking preceding a WAC price increase. The Excess
                Inventory Appreciation is equal to the result of multiplying the WAC price increase of
                any product times the Effective Inventory which exceeds the result of multiplying the
                wholesaler's average daily sales to customers over 30 days immediately preceding
                the WAC price increase by 23. The number of Effective Inventory Level days varies
                by wholesale customer as seen in Annex A. See section 6 below for the steps to
                perform this calculation.

                Adjustments in this area need to be reported to Andrea Boyatzi, Manager Finance.

                Note that prior to signing new FFS Agreements in 2012, it was the practice to
                "clawback" the entire value that Wholesalers gained as a result of a price increase.

           3.8. Purchase Variability Metric: One of the 4 metrics used to calculate Basis Points
                Earned %.. This metric measures the variance of each week's purchases from the
                average of the previous six weeks' purchases in order to incentivize wholesalers to
                manage their purchases effectively and prevent erratic purchasing. See wholesaler
                DPAs for the metric calculation. Note that new product NDCs launched by Purdue will
                be excluded from the metric through tht}·(,2nd week following the first shipment of
                product to Purdue's direct purchasing ~lsstomer.
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                                                   {~'\'
                                                    ''0/i.". .I
           3.9. Raw Service Level Unit Fill Rate Metric: One of the 4 metrics used to calculate
                Basis Points Earned %. This metric measures the percentage of customer orders
                filled by wholesalers.. The metric is in place to help prevent lost sales as a result of
                wholesalers running out of stock. See wholesaler DPAs for the metric calculation.
                Note that new product NDCs launched by Purdue will be included in the metric
                beginning on the 91 st calendar day following the first shipment of product to Purdue's
                direct purchasing customer.

           3.10 . Unauthorized Deduction: Any reduction taken by wholesalers that is not expressly
                  permitted under the Authorized Distributor Agreement.

           3.11. ValueTrak: As stipulated by DPAss Wholesalers provide data to Purdue via this
                 industry-standard platform in order for Purdue to evaluate service levels and calculate
                 the Fee for Service. Steve Projansky, National Accounts group Ase. Dir. Channel
                 Operations, is the ValueTrak administrator and can provide platform access and
                 further details"




                                                                                                         5




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           3.12. Wholesale Acquisition Cost (WAC): The product cost communicated to wholesalers
                 by Purdue excluding prompt pay, stocking or distribution allowances, other discounts,
                 rebates or chargebacks.

        4. RESPONSIBILITY AND ROLES

           4.1. The National Accounts group (Steve Projansky, Ase. Dir. Channel Operations, and
                Steve Seid, Ex. Dir. Nat'I Accounts) is responsible for managing and providing
                wholesaler scorecards to the S&P Finance Sr. Manager.

           4.2. The S&P Finance Senior Manager is responsible to perform the quarterly Fee for
                Service credit calculations, produce a summary package and obtain required
                approvals from National Accounts (Steve Seid, Ex. Dir. Nat'l Accounts), Sales (Russ
                Gasdla, VP S&M) and Finance (Eric Bostrup, Ex, Dir. Finance and Ed Mahony, Ex~
                VP. CFO).

           4 . 3. After section 4.2 approvals are obtained, the S&P Finance Senior Manager provides
                the completed credit package to Customer Service (Laura Watson, Ase. Dir.
                Customer Service) and Credit Services (Dan Colucci, Dir. Credit Services)
                departments for credit processing. See Annex E for an example of a completed credit
                memo package.

        5. GENERAL

           5.1. NA

        6. PROCEDURE

           6 . 1.. Each quarter, the S&P Finance Sr. Manager prepares a FFS credit package for
                review approval and credit issuance.

           6.2.. The steps below enter gross sales data into the FFS credit calculation file and update
                 calculation tables. Gross Sales are generated from SAP for each wholesaler (see
                 Annex-8).

                6.2.1. Copy the data generated from SAP into the "Data" tab in working file "YYYY
                       QN Credit.xlsx" - where YYYY is the year and N is the quarter number. You
                       can find the files under the following location:
                       P:\Finance\Share\SalesData\Fee For Service\Credits Issued

                6.2.2. Update Pivot tables linked to the "Data" tab in "FFS Pivot", "Summary by
                       Customer" and "Steve Pivot" tabs.

           6.3. The steps below calculate Excess Inventory Appreciation. Run the following reports
                from ValueTrak for data used to calculate Excess Inventory Appreciation (Price
                Increase - Pl) adjustments.




                                                                                                      6




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                6.3.1. Run the report, "Sales & Inventory" as seen in Annex C - copy the data into
                       tab ''ValueTrack Sales &Inv $s,, found in the working file mentioned in step
                       6.2.1. Make sure to copy data only from columns A to V and do NOT copy
                       column headings into the file as this will disrupt the pivot tables discussed
                       below.

                6.3.2. Run the report, "Inventory Revaluation" as seen in Annex C to identify
                       "Committed Quantity". Copy the data into "Value Track COMMITTED Qty" tab
                       of the working file discussed in step 6.2.1. Copy the data only from columns A
                       to R.

                6.3.3 . Enter Committed Quantity (column P) from "Value Track COMMITTED Qty"
                       tab into (column W) of "Value Track Sales &Inv $s" tab

                6.3.4.. Update formulas in columns Y to AD of "Value Track Sales &Inv $s" tab
                6.3.5. Update npf Details" tab with price changes occurring in the last Quarter.
                6.3.6. Refresh Pivot in "Pl Pivot" tab
                6.3. 7. Copy Excess Inventory Appreciation amounts of each wholesaler calculated in
                       the above steps into columns starting from column J of preliminary credit tab
                       "2012Q3 Score card sent to CS".

           6.4. In the first week after the end of each quarter, S&P Finance Sr. Manager provides
                gross sales data to Steve Projansky, A~\Dir. Channel Operations, who downloads
                data from ValueTrak and creates dratf~'torecards. The scorecards are reviewed by
                Steve Seid, Ex. Dir. Nat'I Accounts-(~n'd then sent to the S&P Finance Sr. Manager
                (See Annex - D)                      ·

           6.5. S&P Finance Sr. Manager reviews draft scorecards for sales accuracy, formula
                accuracy and amount reasonableness. S&P Finance Sr. Manager discusses and
                resolves any issues with Steve Projansky, Ase. Dir. Channel Operations.

           6.6.. Steve Projansky, Ase. Dir. Channel Operations and Steve Seid, Ex. Dir. Nat'I
                 Accounts, review scorecards and make any further adjustments if necessary. The
                 finalized scorecards are then returned to S&P Finance Sr. Manager who again
                 reviews for sales accuracy, formula accuracy and amount reasonableness.

           6. 7. The steps below incorporate wholesalers' scorecard Basis Points Earned % into the
                FFS credit calculation.

                6. 7 .1.. Open the working file discussed in step 6.2 and update "Actual Rate per
                          Scorecards" column in the "Contract Summary" tab with achieved FFS
                          scorecard rates from individual scorecards received from Steve Projansky,
                          Ase. Dir. Channel Operations.

                6.7.2 . Refresh Pivots in tabs, "FFS Pivot", "2012Q3 Score card sent to CS" and
                       "Summary by Customer".



                                                                                                       7




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           6 . 8. The steps below update Credit Memo Package file

                6.8.1. File name: "YYYY QN Credit Memo Packaqe.xlsx" - where YYYY is the year
                        and N is the quarter number. You can find the files under the following
                        location: P:\Finance\Share\SalesData\Fee For Service\Credits Issued

                6.8.2 . Copy data (or entire tab) from ""2012Q3 Score card sent to CS'"' into Credit
                        Memo Package file

                6 . 8.3. Update worksheets - "Contract Summary", "Sales by Otr", "FFS payment by
                       Qtr", "FFS rate" and attach each wholesaler scorecard summary page.

                6.8.4. Check all totals are accurate and details matches between worksheets.
                6.8.5. Create Credit Package Cover Memo (sample attached in Annex -E)

           6.9. S&P Finance Sr. Manager reviews the quarterly credit package with Eric Bostrup, Ex.
                Dir. Finance, Steve Projansky, Ase. Dir. Channel Operations, and Steve Seid, Ex. Dir.
                Nat' I Accounts.

           6 . 10. S&P Finance Sr. Manager circulates quarterly package for appropriate approvals
                   based on Purdue's signing authority limits. (Completed package sample attached in
                Annex-E)

           6 . 11. S&P Finance Sr. Manager sends the fuJ.f·signed off and approved package to Dan
                   Colucci, Dir. Credit Services and La4~?Watson, Ase. Dir. Customer Service, for
                   processing of credits and SAP ordel:f~ntry~

           6 . 12. The Credit department then sends credit memo details and copy of the FFS
                   scorecard to each wholesaler.

        7. RISK FACTORS

           7 . 1. Fee for Services expense credits are not recorded accurately in customer accounts.

           7.2. ValueTrak data is inaccurate

           7 . 3 . Credit Memo Package excel formulas are inaccurate

           7.4.. Gross sales used in the FFS scorecards are inaccurate

        8. KEY INTERNAL CONTROLS

           8.1. Steve Seid, Ex. Dir. Nat'I Accounts, and the S&P Finance Sr. Manager review
                scorecard formulas for accuracy.




                                                                                                       8




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           8.2. FFS wholesale customer gross sales as reported in the FFS scorecards are
                reconciled to total gross sales as reported by Purdue in the Credit Memo Package

           8.3.. Fee for Services credit package is reviewed for appropriateness by Steve Projansky,
                 Ase. Dir. Channel Operations, Steve Seid, Ex. Dir. Nat'I Accounts, Eric Bostrup, Ex.
                 Dir. Finance, Russ Gasdia, VP S&M and Ed Mahony, CFO

           8.4. After the Fee for Service credit package has been fully approved, the package is sent
                to Dan Colucci, Dir. Credit Services and Laura Watson, Ase. Dir. Customer Service,
                for internal processing. The credit processing follows the department processing
                controls.

           8 . 5. Steve Projansky, Ase. Dir. Channel Operations, and Steve Seid, Ex. Dir. Nat'I
                Accounts discuss any scorecard discrepancies with wholesalers when wholesalers
                appeal scorecard calculations.

        9. REFERENCES

           9 . 1. File Name: "2012 Q3 Credit Memo Package".xlsx and "2012 Q3 Credit.xlsx"

           9.2. File Location: Quarterly files are saved in shared network location:
                "P:\Finance\Share\SalesData\Fee For S~rvice\Credits Issued" - under specific year
                and quarter folders.                      t?,~ , ·,

                                                     ,l';;.,:f
                                                   (~;"
           9.3. Contact Helpdesk Center for SAP access

           9.4. Contact National Accounts for ValueTrak access

        10. CHANGE HISTORY

                Version       Section         Change
                V1            Complete      Initial Document
                              Document


        11. ATTACHMENTS
               Annex-A                      Wholesalers under FFS agreements
               Annex- B                     Sample SAP report
               Annex- C                     Sample ValueTrak reports
               Annex- D                     Sample Score card
               Annex - E                    Credit Memo Package
               Annex - F                    Product Price Increase Memo




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                                                                           ANNEX-A

                                             W HOLESALERS UNDER FFS AGREEMENTS




                 Terms Agreed 8/1/2012

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                         ~~~-~ed                     7/1/2012         -~/30/2015 Gross - ~_ross 1.55%                       23
                  ..........~i~~~d                   7/1{2012          6/30/~015 G~oss -.~ross 1.55%                        2_9
                         Si~~ed                      7/1/2012          6/30/2015 ~~<?~S - <;;f<:)SS 1.5~%              .... 2~
                         ~iQ.tled                    ..!.(1f~Q~?.      6/~Qf.?.91.§ ~_r.9.~~---: . Gf9,SS_ J .,_ ?~01>      2~
                        -~i9.n~~                     7/1/2012          6/30/2015 Gross - Gross J_,.55o/~.. ·--·             23                            ,..
                         ~-i~n~~                     7 /1 /201..?     6/30/2015._        Gross - ~r.o~s ... 1.5~0~ _ .... . . ... ...          23
                          S~_~ned                    7/1/20~_?__ .... ~!30/2015 Gross - ~ross 1.55~..........                                  ~~
                       . .~ign~~                     711!29_12 . -~/30/2015 Gross - Gross 1.55% ... .                                          23
                          Signed                     7/1/2012 6/30/2015 Gross - Gross 155%                                                     23           .
                         signed..                   · ··1,1)2ci1. 2--·· a130126t§~\3ros·s - Gioss . 1.ss%)                      . ~-· · ·- - · · ·. ·23
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                                                                                                                                                                                                          ANNEX-B

                                                                                                                                                                                   Sample SAP Report


     1. Run the SAP report KE5Z in FICO

          i. Use Variant FFS 2012

          ii. Change Posting periods (select current quarter)

     1.                      Parameters: Record type =O; Version = O;Controlliing Area = PURD; Company Code = 999;
                             Fiscal Year= Current Year; Profit Centers= OXY, OXI, OXF, SPF,MSC, UNI, DLD,TRL,
                             ORF, BUP, INT; Accounts= 401000, 401010, 401020, 401030, 401040, 204050, 601010,
                             610015; Display Variant= /ZFFS

     2. Screen shot of parameters:
                 r-::.·:~· .. ,.•   ·~1~ 1,,:·S..:'IA   ._ .••"!-Jf r                                                         ·~·~·:··r:~~0:r·····~,!.,.::..,."S~;_,.,!:.'.: . .:,..,.: •.,.•
                                                                        ,:\:•·.~ ... ~ •..,-·, .,,.,.,-,,'!'..~,~ ~ f~: .. ·. .                                                                 -_,\.- ,' 'l .. >~--.•r;,_,._~·,.~·~---.'-;.:._,   .?'..> ..·.·-<~_ . . ,;.·, 1··;(i:" _. ,;.-.:·,::"'!.~




          iii.               Execute the report

          iv.                Sample Report:



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      1.



           v.    The data is reported in summary by customer. Expand details by selecting the 'two dots'
                 (identified in a red circle in the above screen shot)




     1.
           vi.   Export the data for calculations into file referred in step 6.4.




                                                                                                           12




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                                               ANNEX-C

                                       Sample ValueTrak Reports

               Sales & Inventory:




        a.
                  Enter following parameters
                     a. Time Frame = Custom
                     b. Start date= Price change date less 30 days
                     c. To Date = Day before the Price change
                     d. Select all Partners
                     e. Select products whose price is changed
                     f. Select UBuild Report"




                                                                                13




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        g.
               3. From the report generated, select excel icon to export into excel format




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                valuetrak                                                                                                                                      c m IE
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                4. Copy the data as referred in step 6.4.1


                Inventory Revaluation:

                1. Select Report "Inventory Revaluation"




           a.
                2.    Select following parameters
                         a. Time Frame = Custom
                         b~ Start date= Price change date less 30 days
                         c. To Date = Day before the Price change
                         d. Select all Partners
                         e. Select products whose price is changed
                         f. Select "Build Report"




                                                                                                                                                                                                                                                                                                                                                                                                                   15




CONFIDENTIAL                                                                                                                                                                                                                                                                                                                                                                        PPLPC004000344814
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                INVENTORY REVALUATION                                            Oecembef 02.t 201.2 t:fS'Pt•i
                PURDUE. PHA.Rt,\A-                                                       SAV£0 REPORTS




           g.
                3. From the report generated, select excel icon to export into excel format
                4. Copy the data as referred in step 6.4.2




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                                                                                                ANNEX-D

                                                                                      Sample Scorecard

                                                                              McKesson Corporation
               3Q. 2012
               7/1/2012-9/30/2012.

               ~~;1;~"oi~~7-·. --~"T'.~.~                                _::Auausf · < . ,\..:.}e~ _,. , ·i.. f · :,ir.d~a~t< <
               eutraris                           $3,60$,916.4&         $6#1569,949.92                  S:2~620~3-19-..52.     $12,,,~,lS:5:92
               Dilaudid                             $637,239,SS           $643,360.54                      $810,151~04          $2;090,751.46
               tntermeuo                              $6,%6.00             $95,202.00                     $11-6,100.00            $218,268.00
               MS Ccntio                            $378,775.92.          $503,793.36                      $20S,i45,.a4         $1,090,815.12
               OxyD:>ntin                        $67,655,964.48        $85,175,500.20                  $61,669,137,40         $216,500,602.08




               ~.~::i:~t::·                      A~1~i;~;~i. \'. ..~~~:;~(}                                 <ia~~-;i(            ·fMfl~:i.~
               But.rans:                                    96.01%                96.0l,t.                          0.81%         $104,483.41
               Offsudid                                     79.54%               100.00%                            0..81"         $1.6,935.09
               trtterme uo                                  96.46%                %.4$"                             ().81.%          $1,767.97
               MSContin                                     89.3°'6               SS.30'%                           Q,81%-           $8,&35,60
               ~vconun                                      99-.2.2%              99..22%                           0.81~       $1, 75g,6S4.88



               £ff~iteJ~v-eri~:t1:.veh :.         ::\iuiv. -··               eame(t~/:>              ·AV.RU.St:'                  ·: Eii~<i~~September: ,.: eame<1." .. ·: .~ :tarl'tetf
               sutran:s                                       21.S7                0.51%                             3.2.43             0,51%                30,U     0,51%      $55,785.85
               PUaudld                                        u..as                0.51%                             31.50              0.51%                31.61    0.51%      $10,662.8.3.
               toterrneno                                   300.25                 0,51¾                            22.8.6~             0.~1%               1S7.94    O.Sl%       $1,113,17
               MSContfn                                      47.S:3                0..51~                            61.40              0,.51%               55.60    0.51%       $5,563.16
               Oxycontin                                     !3.13                 0,51,6                            37.09              0.51C¼               3:0.61   0.51%   $1,104,153.07




               riu~h~st€'\i~i,abii~           \*/~ek1f.>.\cnteved:·~-:~.~i~llt / :.- . _ :_:, ,_'.:,.:~~~ti·.~-: ./<.:. ·fe~-~~~ed
                                                                                                         <·..

               9utrans                                                                   l.3                        0.51%          $6.S. 785.SS
               OHaudid                                                                   13                         0.51%          $10,662.83
               intermezzo                                                                13                         0.51%           $1,113.17
               MSC'..ontln                                                               13                         0.51%           $5,563, 16
               OxyConttn                                                                 .13                        0.51%       $1.104,153.0-7




               mf1151/J61)i~hrit1ira1iW·:~. · Aehie~~~~t . :.,:ii!:!}~1f. ,.                                    <·~~~~,~:/.;:··· :·::Aciu~t~
               Butrans                                       0.01%                 0,01"                            0.20%          $?'..S,798.37
               OUaudid                                       0-.14%                0.14~                            O,l.0%          $4,181.StJ
               Jntermeuo                                     0.02tli               0.02%                            0.20%               $436.54
               MSConnn                                       (tor:,%               0.00%                            0..20'%         $1.,181.63
               ())(vCoo Un                                   0.01%                 0~01'¼                           0,20"1-       $433-,001.2-0



               o.ata: aeJ;orit#j:fe.e- /    · M.tiiilogP.roouci.s.: ; ···M1ss1·r,g oct         . t:.a:t:e tiaMmissioh· . ·. Mtsstn, tt.~en&/ · 1>i.ti>litiates ·
               Ocrorrenc:es                            0-                    O                           0-                         o                   O




               Sutrans
                           : .~::}. · .. , ~·- ':~~=~::_:<?·~F~~~~~ ..>·_· :: ~<0$S P.a~i:~~:-.~. · ..
                                                $12,899,lBS.92                     2.03%                  $261,.85:i-.47
                                                                                                                              :t:!~:n. . ~~=::tse
                                                                                                                                         $0.00      $261,853.47
               Oitaudid                          $2,.090,751.4(>                   2.03¾                   $42,442.2S               $41:928.47       $37,513.79
               mtermezzo                            $218,268.00                    2,03%                    $4.430.84                    $0.00        $4.430.84
               MSConttn                          $:l,OS0,815.12                    2.03%                   $22,143.SS                    $0.00       ~143.55
               oxyconttn                       $216,500,602.08                     2..03'%              $4,394,962.22                    so.oe     ~l94>962.::?l
               Att:~~-~~~~~~(:~_ :_ ·._                                           _ 2.()l~ ~-- .. -~---· '·:~~rn~Mi~'.k···         . $!l,'92S.47~:'s4;77.hioi~a1

               DP.0.:P~~t
               Adjusted P-1ty1,1ent aas·e         $4,72C.,90l.S7
               O~ta Reporting Fee                          $0.00
               Unauthoriz.ed Oectuctton.s                  $0.00
               ~,,;;:,;eni~----.~ . ..$47~




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CONFIDENTIAL                                                                                                                                                                          PPLPC004000344816
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                                        ANNEX-E

                                  CREDIT MEMO PACKAGE




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                                       3Q12 Credit Merm
                                           Package




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                                         ANNEX-F




                                             -~
                              PRODUCT PRICE INCREASE MEMO


                                             ··~




                                          Product Price
                                        Increase 11.1.12




                                                                                19




CONFIDENTIAL                                                          PPLPC004000344818
